




NO. 07-05-0010-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



FEBRUARY 28, 2005



______________________________





JOSEPH ROBERTS AND J &amp; L BAIL BONDS, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE COUNTY COURT OF OCHILTREE COUNTY;



NO. 2306; HONORABLE KENNETH RAY DONAHUE, JUDGE



_______________________________



Before JOHNSON, C.J., and QUINN and CAMPBELL, JJ.

MEMORANDUM OPINION

On January 14, 2005, the clerk of this court received a copy of a Notice of Appeal &nbsp;filed on behalf of appellants Joseph Roberts and J &amp; L Bail Bonds. &nbsp;By letter dated January 14, 2005, the clerk advised counsel for appellants that a 
filing fee had not been received
, 
see
 
Tex. R. App. P
. 5
. &nbsp;The clerk’s letter likewise advised that 
failure to pay the filing fee
 may result in dismissal of the appeal. &nbsp;
See
 
Tex. R. App. P
. 42.3(c). 

The filing fee has not been paid
. &nbsp;Accordingly, this appeal is dismissed. &nbsp;
Tex. R. App. P
. 42.3(c).

James T. Campbell

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice






